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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION

_____________________________                            __________________________
Crystal Long                              *
                                          *
              Plaintiff,                  *      Case No.: 8:17-cv-01955-GJH
                                          *
                                          *
                                          *
                                       v. *
                                          *
                                          *
Ability Recovery Services, LLC, et al.    *
                                          *
              Defendants.                 *
_______________________________________________________


                                              ORDER


       It is hereby ORDERED and DECREED this              day of               , 2018 that the

Consent Motion Regarding Extension of Deadlines Pertaining to Dispositive Pretrial Motions is

GRANTED whereby the date for Ability Recovery Services, LLC and Pendrick Capital Systems

II, LLC to file Motions for Summary Judgment and responses to Plaintiff’s Partial Motion for

Summary Judgment is extended to April 20, 2018, the date for Plaintiff to file a reply brief

regarding her Partial Motion for Summary Judgment and responses to Defendants’ Motions for

Summary Judgment is extended to May 7, 2018 and the date for Defendants to file replies to

Plaintiff’s responses to their Motions for Summary Judgment is extended to May 21, 2018

                                           SO ORDERED


                                           HONORABLE GEORGE JARROD HAZEL
                                           UNITED STATES DISTRICT JUDGE
